           Case 19-90065-LT               Filed 09/24/20          Entered 09/24/20 13:42:49               Doc 85      Pg. 1 of 2
CSD417A (Adv.)[12/1/18]
Name, Address, Telephone No. & I.D. No.

Christopher Bush
LAW OFFICE OF CHRIS BUSH
2727 Camino del Rio S., Ste 135
San Diego, CA 92108




                         UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
                         325 West F Street, San Diego, California 92101-6991



 In Re                                                                                             BANKRUPTCY NO. 17-05276-LT
CESAR MEDINA, KRYSTAL ANNE MEDINA                                              Debtor

KRYSTAL ANNE MEDINA,
                                                                                                   ADVERSARY NO.    19-90065-LT
                                                                               Plaintiff(s)

 v.

NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3;                                 Defendant(s)




                                  NOTICE OF APPEAL AND STATEMENT OF ELECTION

Part 1: Identify the appellant(s)

      1. Name(s) of appellant(s):
         KRYSTAL ANNE MEDINA


      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this appeal:


          For appeals in an adversary proceeding.                                  For appeals in a bankruptcy case and not in an
                                                                                   adversary proceeding.

           ✔ Plaintiff                                                                  Debtor
             Defendant                                                                  Creditor
             Other (describe)                                                           Trustee
                                                                                       Other (describe)


Part 2: Identify the subject of this appeal


          1. Describe the judgment, order, or decree appealed from:                    Order granting summary judgment to Defendant

          2. State the date on which the judgment, order, or decree was entered:                    Sept 10, 2020




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Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, addresses, and telephone
Numbers of their attorneys (attach additional pages if necessary):

        1. Party:    Krystal Anne Medina                        Attorney:   Chris Bush
                                                                            2727 Camino del Rio S., Ste 135
                                                                            San Diego, CA 92108



        2. Party:    National Collegiate Student Loan Tr        Attorney:   Holly Nolan
                                                                            11682 El Camino Real
                                                                            Suite 250
                                                                            San Diego, CA 92130
                                                                            858-793-8500



Part 4: Optional election to have appeal heard by District Court (applicable only in certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will hear this appeal
unless, pursuant to 28 U.S.C. §158(c)(1), a party elects to have the appeal heard by the United States District Court. If
an appellant filing this notice wishes to have the appeal heard by the United States District Court, check below. Do not
check the box if the appellant wishes the Bankruptcy Appellate Panel to hear the appeal.


       ✔ Appellant(s) elect to have the appeal heard by the United States District Court rather than by the
         Bankruptcy Appellate Panel.

Part 5: Sign below


  /s/ Christopher R. Bush                                                               Date: 9/24/2020
Signature of attorney for appellant(s) (or appellant(s)
If not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney)

 2727 Camino del Rio S., Ste 135
 San Diego, CA 92108
 (619) 678-1134




Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the form specified
in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed. R. Bankr. P.
8002(c)(1), complete Director’s Form 4170 (Declaration of Inmate Filing) and file that declaration along with the Notice
of Appeal.]




CSD417A (Adv)
